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                  UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
________________________________________________________________________

CHRISTIAN BRUCKNER, et al.,

                 Plaintiffs,                 Case No.: 8:22-cv-1582-KKM-SPF
   v.

JOSEPH R. BIDEN, JR., et al.,

              Defendants.
________________________________________________________________________

                PLAINTIFFS’ REPLY IN SUPPORT OF
       AMENDED MOTION FOR PRELIMINARY INJUNCTION
________________________________________________________________________

                               INTRODUCTION

        Since the 1980s, federal agencies have taken the same approach. They

have presented federal courts with studies describing differing outcomes

among groups. They have assumed that these disparities must be the result of

discrimination, and then argued that the only way to cure them is through

intentional discrimination against innocent individuals.

        It hasn’t worked. As Defendants will be the first to tell the Court, “The

needle has not moved.” Doc. 29-1:18. The result has been a never-ending cycle
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of discrimination by the government that fails to cure social disparities, the

cause of which has been the subject of considerable debate. 1

      The Constitution—and our Supreme Court—have demanded much

more. While it is true that the government may, with a precise and time-

limited remedy, address a specific episode of intentional discrimination

involving government officials, that is not what is going on in this case. Here,

Congress created, and Defendants are implementing, a nationwide $37 billion

race-and-gender quota that discriminates (quite indiscriminately) against a

variety of racial groups. While the quota may appear time-limited (even

billions will eventually run out), Defendants concede the federal government

has been setting aside money like this since at least 1983. There is no

suggestion that these programs will ever stop. Certainly they won’t stop of

their own accord because, again, “The needle has not moved.”

      They ought to stop because our Constitution demands it. Racial

classifications, like the one here, “threaten to stigmatize individuals by reason

of their membership in a racial group and to incite racial hostility.” Shaw v.

Reno, 509 U.S. 630, 643 (1993). Such race-based programs “are simply too

pernicious to permit any but the most exact connection between justification



      1  See, e.g., Thomas Sowell, Discrimination and Disparities 216 (Hatchette Book
Group 2019) (“One can read reams of arguments that statistical disparities imply
biased treatment without finding a single empirical example of the even distribution
of social groups in any endeavor, in any country or in any period of history.”)
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and classification.” Gratz v. Bollinger, 539 U.S. 244, 270 (2003). They cannot

be based on racial disparities or systemic discrimination that is everywhere

and anywhere. The reason is simple: our Constitution protects individuals

from racial discrimination. It does not impose group guilt or entitlement. As

Justice Scalia famously put it, “[i]ndividuals who have been wronged by

unlawful racial discrimination should be made whole; but under our

Constitution there can be no such thing as either a creditor or a debtor race.

That concept is alien to the Constitution's focus upon the individual.” Adarand

Constructors, Inc. v. Pena, 515 U.S. 200 (1995) (Scalia, J. concurring).

      “The way to stop discrimination on the basis of race is to stop

discriminating on the basis of race.” Parents Involved in Cmty. Sch. v. Seattle

Sch. Dist. No. 1, 551 U.S. 701, 748 (2007). “Equal protection of the laws is not

achieved through indiscriminate imposition of inequalities.” Shelley v.

Kraemer, 334 U.S. 1, 22 (1948). Defendants’ statistical disparities are not

compelling, and certainly do not justify this nationwide race-and-gender quota.

The Constitution—to the extent it permits one at all—requires a race-based

remedy to be performed with a scalpel, not a meat cleaver.

      Plaintiffs’ motion for a preliminary injunction should be granted.




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                          ARGUMENT IN REPLY

I.    Plaintiffs Are Likely to Succeed on Discrimination Claims.

      In their response, Defendants agree that the Infrastructure Act

discriminates based on race and that strict scrutiny therefore applies. Doc.

29:1, 3, 11, 16. With respect to gender discrimination, Defendants similarly

agree that they must show that a gender classification meets intermediate

scrutiny. Doc. 29:12. In their brief, however, Defendants ask this Court to only

consider strict scrutiny because Defendants contend that the quota meets that

high bar. Doc. 29:16, n.10. It does not, however.

      A.    Defendants’ generalized statistical disparities and
            anecdotes are not a “strong basis” in evidence supporting
            a compelling interest.

      Defendants do not dispute the compelling-interest test as articulated by

Judge Thapar in Vitolo v. Guzman, 999 F.3d 353 (6th Cir. 2021), which struck

down another federal program prioritizing billions for “disadvantaged”

individuals. Applying Supreme Court precedent, Judge Thapar cogently

identified a three-part test to determine whether the government can establish

a compelling government interest.

      First, “the policy must target a specific episode of past discrimination. It

cannot rest on a ‘generalized assertion that there has been past discrimination

in an entire industry.’” Id. at 361 (quoting City of Richmond v. J.A. Croson Co.,

Croson, 488 U.S. at 469, 498 (1989) & citing Adarand, 515 U.S. at 226). Second,

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“there must be evidence of intentional discrimination in the past”—

“[s]tatistical disparities don’t cut it.” Vitolo, 999 F.3d at 361 (citing Croson, 488

U.S. at 503). Third, “the government must have had a hand in the past

discrimination it now seeks to remedy.” Vitolo, 999 F.3d at 361 (citing Croson,

488 U.S. at 492 (plurality opinion)). Judge Thapar’s formulation is essentially

identical to the one made in Eng’g Contractors Ass’n of S. Fla. v. Metro. Dade

Cnty., 122 F.3d 895, 907 (11th Cir. 1997) (claims of “discrimination in the

national economy” and “gross statistical disparities” are not enough, and the

government must show that the government participated in the system of

racial exclusion). Each of these rules reflects the Constitution’s admonition of

individual and not collective justice.

      To satisfy these three rules, the government must have had a “strong

basis in evidence for its conclusion that remedial action was necessary” “before

it embarks” on a race-based program. Wygant v. Jackson Bd. of Educ., 476 U.S.

267, 277 (1986). 2 When scrutinized with these three requirements, and this

standard of proof, Defendants’ nationwide $37 billion infrastructure quota is

not based on a compelling government interest.




      2 Wygant’s admonition that evidence must be in place “before” implementation
of a race-based program was not headed by Defendants here. The Infrastructure Act
was passed on Nov. 5, 2021. Now, Defendants submit to this Court reports dated
February 4, 2022, February 7, 2022, and another report that is undated.
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       1. Targeting A Specific Episode of Discrimination. Defendants’

proffered evidence does not “target a specific episode of past discrimination.”

Vitolo, 999 F.3d at 361. Targeting a specific episode is important, otherwise,

the government may just rely on a “generalized assertion that there has been

past discrimination in an entire industry.” Croson, 488 U.S. at 498. As the

Southern District of Florida explained in Engineering Contractors, a

“governmental assertion that there has been past discrimination in an entire

industry provides no guidance for a legislative body to determine the precise

scope of the injury it seeks to remedy.” Eng’g Contractors Ass’n of S. Fla. v.

Metro. Dade Cnty., 943 F. Supp. 1546, 1555 (S.D. Fla. 1996), aff’d, 122 F.3d

895 (11th Cir. 1997). “Societal discrimination that has prevented minorities

from following the traditional path from laborer to entrepreneur cannot justify

the use of race-based measures. It is sheer speculation how many minority

firms would exist absent prior past societal discrimination.” Id.

      Defendants first point to their Compelling Interest Report, which

allegedly “demonstrate[s] the effects of discrimination in state and local

marketplaces.” Doc. 29:18. The Compelling Interest Report says that it

documents “the barriers and challenges that businesses owned by women or

people of color face today.” Doc. 29-1:4. The report highlights, among other

things, “substantial and pervasive disparities” across “the vast majority of

industries,” “ethnic and racial groups,” and “geographies.” Doc. 29-1:18, 22. In

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support of these claims of nationwide discrimination among multiple

industries, the report catalogues “over 200 disparity studies.” Doc. 29-1:18. 3

      The Compelling Interest Report, and the studies cited therein, don’t

identify any specific episode of discrimination (and Defendants do not contend

otherwise). Instead, the report rattles off scattershot statistical disparities in

“state and local jurisdictions in 34 different states and the District of

Columbia.” Doc. 29-1:18. The problem is evident. Such evidence is indistinct

from an allegation that there has been societal discrimination resulting in

group disparities. It could justify race-based remedies for all at any time. Yet

that is precisely what the Supreme Court has repeatedly said may not be done.

      To be sure, the Compelling Interest Report identifies some isolated

anecdotes of discriminatory language, including racial slurs uttered in New

Orleans in 2018 and Arizona in 2015. Doc. 29-1:23. Defendants’ other

“evidence” focuses on non-discriminatory behavior that the government labels

as “the good ol’ boy” network,” such when a black owner of a construction

company, who lost out on a bid, reported that the real reason for losing the

contract was because “‘[t]hey knew the guy. [The general contractor] had a

working relationship with them.” Doc. 29-1:23, 25.




      3   Page numbers reflect the blue ECF page numbers in the headers.
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      These statistical surveys and isolated stories of discrimination do not

amount to “identified discrimination” or the “specific episode” mentioned in

Croson and Vitolo. They don’t tell us what has happened to this industry in

this locality or what the extent of its impact may have been. Moreover, isolated

anecdotal evidence “is not the sort of ‘identified discrimination’ contemplated

by Croson.” Eng’g Contractors, 943 F. Supp. at 1580 (quoting Croson, 488 U.S.

at 505). This is because anecdotal evidence rarely involves any effort to

investigate the anecdote provided. If the government identified the

discriminatory act and then discriminator, the government could merely

investigate and punish the offending conduct. Instead, as it does in nearly all

cases, the government here relies almost exclusively on statistical evidence.

      Defendants also submit two other reports from Wainwright and Chow,

previously filed in the pending case Ultima Servs. Corp. v. USDA, No. 2:20-cv-

41 (E.D. Tenn.) (summary judgment motions pending). These reports, however,

do not identify a specific episode of discrimination. Neither expert identifies

any specific contract, firm, or public official involved in discrimination. 4 The

Wainwright and Chow reports, on the contrary, simply claim discrimination in

an “entire industry,” which is not a suitable basis for identifying a compelling

government interest. See Eng’g Contractors, 943 F. Supp. at 1555.



      4 In fact, Defendants do not cite any modern lawsuit or sanction against a
discriminator in the public-procurement process, and Plaintiffs are unaware of any.
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      2. Evidence of Intentional Discrimination. In addition to failing to

identify a specific episode of discrimination, Defendants similarly cannot

properly identify any evidence of intentional discrimination. Defendants’

statistical evidence points to racial disparities, but these studies do not amount

to a “strong basis” in evidence of intentional discrimination. Wygant, 476 U.S.

at 277. 5 Statistics should not be “accorded talismanic significance,” Peightal v.

Metro. Dade Cnty., 26 F.3d 1545, 1556 (11th Cir. 1994), and the statistics must

account for “race-neutral explanation[s] for the           apparent statistical

disparities,” Eng’g Contractors, 943 F. Supp. at 1576, 1573 (stating that a study

submitted by Wainwright not “particularly probative”), including statistical

phenomena such as “Simpson’s Paradox,” Eng’g Contractors, 122 F.3d at 919,

n.4 (aggregating data can create illusory disparities).

       In Croson, the Court described the type of statistical evidence that may

be probative of intentional discrimination. To show a relevant racial disparity,

studies must first identify the “relevant statistical pool,” which includes only

those firms with the “special qualifications” “necessary” “to undertake the

particular task.” Croson, 488 U.S. at 501–2. “In the relevant market,” the


      5  Government agencies have documented the issues with relying on broad
statistical disparity studies. See GAO Report GAO-01-586, “Disadvantaged Business
Enterprises: Critical Information is needed to Understand Program Impact,” June
2001, p. 29 (reviewing 14 contracting disparity studies and finding them
methodologically flawed and therefore unreliable); U.S. Comm’n on Civil Rights,
“Disparity Studies as Evidence of Discrimination in Federal Contracting,” p. 76
(finding seven common flaws in most disparity studies).
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 government must identify who is “qualified to undertake the prime or

 subcontracting work in public construction projects.” Id. at 502.

       In this case, the relevant statistical pool consists of all federal

 contractors and subcontractors in the United States willing, qualified, and able

 to undertake particular tasks in contracts funded by Section 11101(e)(3) of the

 Infrastructure Act. See Doc. 1:¶15. This section identifies $370 billion of

 projects to be spent under Division A (surface transportation projects by the

 Federal Highway Administration), Division C (transit projects by the Federal

 Transit Administration), and 23 U.S.C. § 403 (safety projects by the National

 Highway Traffic Safety Administration). Id.; see Infrastructure Act, §

 11101(e)(3). If a contractor is unqualified or otherwise unable to bid on these

 types of projects, they should not be included in the relevant statistical pool.

       Disparity studies can be “both over- and under-inclusive” in their

 attempt to define the relevant statistical pool. Hershell Gill Consulting

 Engineers, Inc. v. Miami-Dade Cnty., Fla., 333 F. Supp. 2d 1305, 1321 (S.D.

 Fla. 2004). The Compelling Interest Report is underinclusive because it doesn’t

 consider a nationwide statistical pool. While it’s not clear that there could ever

 be a nationwide case made under Croson—to attempt one would seem

 inconsistent with the notion of narrow tailoring per se—the report considers

 189 studies from various “state and local jurisdictions in 34 different states

 and the District of Columbia” over the past 12 years. Doc. 29-1:18. This is not

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 the relevant pool. Sixteen states are not referenced in the report. Even within

 the states considered, most of the studies are about counties and municipalities

 and do not consider statewide evidence. Even when Defendants’ report offers

 evidence for a particular area, many times the evidence is old and therefore

 not probative of intentional discrimination in need of a remedy in 2022 and

 beyond. For example, only two studies mention Oklahoma and both studies are

 from 2010. Doc. 29-1:51. Defendants seek an inference that because there has

 been racism at some times and places, America is a “racist” society in which

 public policy must be racialized. The Court has repeatedly warned against this.

       Second, the Compelling Interest Report is overinclusive because it is not

 limited to federal contractors willing, qualified, and able to do work under the

 Infrastructure Act. Instead, the report considers a hodgepodge of contractors

 doing a variety of work in selected cities, counties, and states over the past 12

 years. This is not the pool of contractors relevant to the quota under the

 Infrastructure Act. For example, Defendants’ report cites a 2011 study by the

 Washington Suburban Sanitary Commission (Doc. 29-1:43), a 2015 study by

 the Broward County Public Schools (Doc. 29-1:43), a 2012 study about the

 Burbank-Glendale-Pasadena Airport Authority (Doc. 29-1:41), a 2017 study

 about the Atlanta Housing Authority, (Doc. 29-1:44), and a 2015 Illinois study

 about a “Suburban Bus” authority, (Doc. 29-1:45). These studies are not the

 type of strong evidence of intentional discrimination required by the caselaw.

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 If Defendants want to show intentional discrimination under the categories

 identified in the Infrastructure Act, then they should perform a study on that

 relevant topic considering qualified, willing, and able federal contractors.

       Defendants’ other reports suffer from similar flaws. The Wainwright

 study relies on “205 different disparity studies completed between 2010 and

 2021, which collectively span 32 states and the District of Columbia and

 represent practically every industry segment in the U.S. economy.” Doc. 29-

 2:8. Wainwright also looked at two national surveys reviewing businesses

 across “all major industry sectors” and therefore not limited to federal

 contractors, Doc. 29-2:9, and the “American Community Survey,” which is

 similarly not limited to federal contractors, Doc. 29-2:10. On the other hand,

 instead of reviewing all businesses in all segments regardless of whether they

 are federal contractors, the Chow report only reviewed small businesses

 registered with the Small Business Administration. Doc. 29-3:6.

       Furthermore, Wainwright and Chow do not properly control for non-

 discriminatory factors, and therefore fail to establish that the purported

 disparities point to intentional discrimination or even an innocent lack of

 business justification for disproportionate results. See Eng’g Contractors, 122

 F.3d at 916–19 (describing the importance of accounting for all non-

 discriminatory factors in proving intentional discrimination). For example,

 Wainwright does not control for capacity measures, such as firm revenues,

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 employment size, and bonding limits. See Doc. 29-2:18, n. 26. This is a fatal

 error, as courts have recognized that firm size plays a major role in obtaining

 contracts—considering just small businesses is not probative of discrimination

 under the sweeping Infrastructure Act. E.g., See Eng’g Contractors, 122 F.3d

 at 917 (“More simply put: Because they are bigger, bigger firms have a bigger

 chance to win bigger contracts.”); Michigan Road Builders v. Milliken, 834 F.2d

 583, 592 (6th Cir. 1987) (“Small businesses, as a result of their size, were

 unable to effectively compete for state contracts.”); Rothe Development Corp. v.

 Dep’t of Defense, 545 F.3d 1023, 1042-43 (Fed. Cir. 2008) (“We are even more

 troubled, however by the failure of five of the studies to account sufficiently for

 potential differences in size, or relative capacity, of the businesses included in

 those studies.”) (emphasis in original). Put differently, the studies reveal

 neither discriminatory purpose or effect.

       Moreover, neither Chow nor Wainwright considered bidding behavior of

 firms, prices proposed in bids, the geographic location of the project, the dollar

 value of the project, the time of year, or whether a contractor had approached

 bonding limits. “[N]on-social factors that may distort the final result.” Eng’g

 Contractors, 943 F. Supp. at 1555 (giving the following examples: “deficiencies

 in working capital, inability to meeting bonding requirements, unfamiliarity

 with bidding procedures, and disability caused by an inadequate track record”).



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 “These problems face any new entrant into the construction industry,

 regardless of race.” Id.

       Bidding on federal contracts is time-intensive and expensive, id. at 1583,

 and who bids and how often impacts whether contracts are awarded. See

 Michael Kenig, Project Delivery Systems for Building Management 64–65

 (Assoc. Gen. Contractors of Am., 1997); George R. La Noue, Setting Goals in

 the Federal Disadvantaged Business Enterprise Programs, 17 Geo. Mason U.

 Civ. Rts. L.J. 423, 436 (2007). 6 Minority firms, which may bid less frequently

 or do not have the capacity to bid on major federal projects, cannot be compared

 to larger, more sophisticated firms that might not be owned by minorities.

 Eng’g Contractors, 122 F.3d at 917 (County’s own expert admitted that “firm

 size plays a significant role in determining which firms win contracts”).

       In sum, Defendants’ reports recount a variety of statistical disparities

 among different groups in different places. But, as Judge Thapar wrote,

 “[s]tatistical disparities don’t cut it.” Vitolo, 999 F.3d at 361 (citing Croson, 488

 U.S. at 503). As Wainwright testified before, “the existence of a disparity

 doesn’t mean that it is related to discrimination.” Eng’g Contractors, 943 F.



       6  In this article, LaNoue recounts a contractor in a federal case who testified:
 “[c]ompanies that bid seldom generally [work on] the types of projects we don’t do a
 lot of. We infrequently have a project in that area so there isn’t a lot of call for them
 to bid. There are also some contractors that just choose not to bid in our arena. They
 prefer to court other markets, local markets, private work, instead of coming into the
 state contracting area of work.”
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 Supp. at 1573. The compelling-interest test requires proof of intentional

 discrimination by a bad actor. Defendants’ reports and experts do not identify

 the perpetrator of this alleged intentional discrimination based on statistical

 modeling. “The [Croson] Court did not even suggest, however, that evidence of

 statistical disparities would be sufficient to support an affirmative action

 program where, as here, the identity of the wrongdoers is unknown.” Phillips

 & Jordan, Inc. v. Watts, 13 F. Supp. 2d 1308, 1313 (N.D. Fla. 1998).

       3. Federal Government Participation in Discrimination. Even

 assuming Defendants proffered evidence of specific episodes of intentional

 discrimination and did not rely on broad statistical disparities, Defendants

 have proffered no evidence of federal government involvement in the

 intentional discrimination that it seeks to remedy. This is important because,

 in the absence of a constitutional violation, there can be no racial remedy.

 Indeed, the “remedy” becomes a violation.

       In a similar case involving the Florida Department of Transportation,

 the Northern District of Florida emphasized that there was no evidence that

 state actors were involved in the discrimination: “In this case, it is agreed that

 FDOT did not discriminate against minority contractors bidding on road

 maintenance contracts. The record is virtually silent, however, about who, if

 anyone, did discriminate.” Phillips & Jordan, Inc., 13 F. Supp. 2d at 1314.

 Emphatically, the court concluded: “The record at best establishes nothing

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 more than some ill-defined wrong caused by some unidentified wrongdoers;

 and, under [Croson], that is not enough!” Id. Here, Defendants similarly rely

 on an “ill-defined wrong caused by some unidentified wrongdoers.” Id. This

 isn’t enough to establish a compelling interest.

       Moreover, government participation cannot mean “any governmental

 contracting in a marketplace where there is discrimination.” Webster v. Fulton

 Cnty., Ga., 51 F. Supp. 2d 1354, 1369 (N.D. Ga. 1999), aff’d, 218 F.3d 1267

 (11th Cir. 2000). Despite a flurry of citations to previous courts upholding

 different preferences over the past decades, Defendants in this case do not

 identify   how,   exactly,   the   federal   government     participated    in   the

 discrimination they now hope to remedy. 7

       B.     The Infrastructure Act’s quota is not narrowly tailored.

       Even assuming Defendants properly identified a past episode of

 intentional discrimination perpetrated by the federal government, the

 remedy—a nationwide quota automatically favoring certain racial groups over

 others—is not narrowly tailored.




       7The true purpose of the quota is likely to advance the goals of the “Executive
 Order on Advancing Racial Equity,” which Defendants cite enthusiastically in the
 Compelling Interest Report. Doc. 29-1:4–5. Racial equity (i.e. “racial balancing”),
 however, is not a compelling governmental interest. See Parents Involved, 551 U.S.
 at 705 (“Accepting racial balancing as a compelling state interest would justify
 imposing racial proportionality throughout American society, contrary to the Court's
 repeated admonitions that this is unconstitutional.”).
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       A narrowly tailored remedy would be to punish the perpetrators of

 intentional race discrimination and then make the victims whole. The

 Supreme Court explained this: a governmental unit may act to fix

 discrimination   “by   taking   appropriate    measures    against   those   who

 discriminate.” Croson, 488 U.S. at 509 (emphasis added). The Eleventh Circuit

 echoed this race-neutral remedy: as “a first resort,” a government must “ensure

 that its own operations are run on a strictly race-and ethnicity-neutral basis,”

 by rooting out “discrimination by local contractors” and taking steps to “inform,

 educate, discipline, or penalize its own officials and employees responsible for

 the misconduct.” Eng’g Contractors, 122 F.3d at 929. “If a race-neutral remedy

 is sufficient to cure a race-based problem, then a race-conscious remedy can

 never be narrowly tailored to that problem.” Id. at 927.

       Defendants do not even attempt this narrow remedy because they can’t

 define the discrimination that they hope to fix, and they can’t identify the

 victims they hope to help. Instead, Defendants rely on laughable racial

 categories and automatically grant a presumption of disadvantage to certain

 ethnicities but not others. See 49 C.F.R. § 26.67 (incorporating SBA definitions

 in 13 C.F.R. § 124.103). Consider this: a contractor who is an immigrant from

 Peshawar, Pakistan is automatically presumed disadvantaged and included in

 the $37 billion quota. Yet a contractor who immigrated from Jalalabad,

 Afghanistan—a mere 80 miles away—is presumed to be not disadvantaged.

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 The Jalalabad contractor is in the same boat as Christian Bruckner, the

 disabled contractor who immigrated from Romania, who is also presumed not

 disadvantaged. See Vitolo, 999 F.3d at 364 (“the Indian applicant will

 presumptively receive priority consideration over his Afghan friend. Why?

 Because of his ethnic heritage.”) This is irrational and indefensible.

       Defendants do not contend that even a single study explains why they

 must remedy past discrimination against Black, Hispanic, Native American,

 Asian Pacific, and Subcontinent Asian contractors, but not other contractors

 (or even other minority groups). Indeed, Defendants do not identify the reports

 or evidence that addresses recent and relevant discrimination against Native

 American, Asian Pacific, or Subcontinent Asian federal infrastructure

 contractors, even assuming such evidence exists. This lack of evidence alone

 should be fatal to the entire $37 billion quota. Defendants cite exactly zero

 cases justifying the arbitrary racial categories erected by the federal

 government and employed here in the Infrastructure Act—because those cases

 don’t exist. No court has ever explained how, for example, the federal

 government may favor Columbians not but Brazilians, Somalis but not

 Egyptians, Chinese from Inner Mongolia but not Mongolians from Mongolia

 proper, and Indonesians but not those contractors who grew up just over the




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 border in East Timor. 8 In fact, Croson itself levels this salient question, which,

 after 50 years has never been answered by any government official: “If a 30%

 set-aside was ‘narrowly tailored’ to compensate black contractors for past

 discrimination, one may legitimately ask why they are forced to share this

 ‘remedial relief’ with an Aleut citizen who moves to Richmond tomorrow?”

 Croson, 488 U.S. at 506. Defendants have never had an answer to this

 question, and they still don’t.

       What’s more, narrow tailoring requires racial classifications to be

 “limited in time.” E.g., Grutter v. Bollinger, 539 U.S. 306, 342 (2003) (race

 remedies are “potentially so dangerous that they may be employed no more

 broadly than the interest demands.”) Defendants admit—and in fact

 emphasize—that they have been doing this same thing for the better part of

 four decades. Doc. 29:1 (“nationwide transportation program that has been in

 effect since 1983”). So how is this remedy working? It isn’t. The Compelling

 Interest Report says despite nearly identical racial quotas imposed by

 Congress over the previous decades, the “needle has not moved.” Doc. 29-1:18.

 If the remedy isn’t working, it can’t be narrowly tailored. How could it?




       8  “For reasons never publicly expressed, the dividing line between ‘Asians’ and
 ‘Whites’ lies at the western border of Pakistan, and further north, China.” David E.
 Bernstein, Classified: The Untold Story of Racial Classification in America, p. 19
 (Bombardier Books, 2022) (explaining the irrational history of federal racial
 classifications, most of which are employed in the Infrastructure Act).
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       Instead of addressing the overbroad details of this remedy and its

 abysmal four-decade-long track record, Defendants instead argue the quota is

 narrowly tailored because it’s only a presumption in favor of certain racial

 groups, and “presumptions are subject to challenge.” Doc. 29:22. A white

 contractor, like Bruckner, can seek inclusion by “demonstrating social and

 economic disadvantage.” Id. And Bruckner (or anyone else) can challenge

 someone else’s presumption of social disadvantage by following a procedure in

 the CFR by proving they really are not disadvantaged. See 49 C.F.R. § 26.67(b).

 This is not narrow tailoring. The favored races get a presumption that “is

 dispositive.” Vitolo, 999 F.3d at 363. And disfavored races, like whites and

 many Asians, must bear the “burden of demonstrating” “by a preponderance of

 the evidence” that they are disadvantaged. See 49 C.F.R. § 26.67(d). This is

 precisely backwards. Narrow tailoring would require individualized treatment

 for those who seek to be included in a race-based government benefit (for

 example, through demonstrating that they were the victims of a specific

 episode of intentional discrimination by the government), 9 with broad based

 exceptions to protect innocent parties, like Bruckner.




       9  Defendants and Congress recently demonstrated they know exactly how to
 do this. In the so-called “Inflation Reduction Act,” Congress created a “Discrimination
 Financial Assistance Program,” which provides assistance to farmers and ranchers
 who experienced intentional discrimination by “Department of Agriculture farm
 lending programs.” Pub. L. No. 117-169, § 22007 (subsection (e), page 205).
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       The fact that members of some racial groups are presumed entitled to

 benefits while members of other groups must prove their worth is not to obviate

 discrimination; it embodies it. It does not save the program; it indicts it.

       Defendants finally argue that this program is narrowly tailored because

 the quota “may be higher or lower than 10%.” Doc. 29:24. This is not exactly

 true. The language of the act is mandatory (“shall be expended”), Doc. 1:¶15,

 and Defendants have confirmed their dedication to this quota (“will spend at

 least 10 percent”), Doc. 1:¶16, thereby making the quota mandatory in law and

 in practice. Nevertheless, Defendants do not claim that a different standard

 applies even if this program is merely a racially discriminatory “aspirational

 goal” versus a racially discriminatory “quota.” Strict scrutiny applies in both

 situations. See, e.g., NE Fl. Ch. of Assoc. Gen. Contractors v. City of

 Jacksonville, Fla., 508 U.S. 656, 661 (1993) (rejecting city’s argument that

 changing from quotas to “participation goals” mooted challenge to ordinance);

 Eng’g Contractors, 122 F.3d 895 (applying strict scrutiny and permanently

 enjoining race-based “participation goals”). And no case holds that a

 government program of race discrimination is narrowly tailored because the

 quota may actually “be higher or lower” than the stated “goal.” 10



       10 For the reasons stated in Plaintiffs’ principal brief, which is unrebutted, the
 Infrastructure Act’s quota in favor of women does not meet intermediate scrutiny.



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 II.   Plaintiffs Will Suffer Irreparable Harm if a Preliminary
       Injunction is not Granted.

       Plaintiffs will suffer irreparable harm because Defendants’ imposition of

 racial classifications is a harm to personal dignity. As the Supreme Court

 wrote, “as we have repeatedly emphasized, discrimination itself, by

 perpetuating ‘archaic and stereotypic notions’ or by stigmatizing members of

 the disfavored group as ‘innately inferior’ and therefore as less worthy

 participants in the political community, can cause serious non-economic

 injuries to those persons who are personally denied equal treatment solely

 because of their membership in a disfavored group.” Heckler v. Mathews, 465

 U.S. 728, 739–40 (1984).

       Defendants argue that irreparable harm cannot be presumed, citing

 Siegel v. LePore, 234 F.3d 1163 (11th Cir. 2000) and other cases. The federal

 government made nearly identical arguments in Wynn v. Vilsack, which this

 Court specifically considered and rejected. 545 F. Supp. 3d 1271, 1291 (M.D.

 Fla. 2021). Plaintiffs, like the plaintiffs in Wynn, cannot obtain monetary

 damages. Id. Without an injunction, therefore, Plaintiffs will suffer a

 “constitutional harm…which cannot be undone by money damages and for

 which no other remedy exists.” Id. at 1292; see also Thompson Bldg. Wrecking


 Just like in Vitolo, all women-owned businesses are deemed disadvantaged. Vitolo,
 999 F.3d at 365. Defendants do not explain why a women-owned business
 experiencing no economic disadvantage should be counted among those benefitting
 from this broad set aside. Id.
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 Co., Inc. v. Augusta, Ga., No. 107CV019, 2007 WL 926153, at *9 (S.D. Ga. Mar.

 14, 2007) (granting preliminary injunction against Augusta, Ga., affirmative

 action plan,); see also O’Donnell Const. Co. v. D.C., 963 F.2d 420, 428 (D.C. Cir.

 1992) (recognizing that “the difficulty of such an inherently speculative

 showing weighs heavily in favor of granting [an] injunction.”)

 III.   The Public Interest and Balance of Harms Favors an
        Injunction.

        According to the Eleventh Circuit, “the public interest is served when

 constitutional rights are protected.” Democratic Exec. Comm. of Fla. v. Lee, 915

 F.3d 1312, 1327 (11th Cir. 2019). And the balance of equities certainly favors

 Plaintiffs. On the one hand, Plaintiffs and all others similarly situated who are

 qualified, willing, and able to bid on government contracts will have fewer

 opportunities under this unconstitutional policy. Every contract under this

 policy imposes dignitary harm and sends the message that government-

 sanctioned race discrimination is not only acceptable, but laudable. On the

 other hand, there is no value in an unconstitutional policy, particularly one

 that the government apparently concedes is a failed one. Despite decades of

 repeating the same justifications for the same type of set-aside program, “the

 needle has not moved.”

        In response, Defendants make the same arguments that federal

 defendants made in Wynn. And again, this Court dispensed with those


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 arguments cogently: “If the statute in fact violates the Constitution, the

 Government does not have a legitimate interest in its implementation

 regardless of whether it was passed through the democratic process.” Wynn,

 545 F. Supp. 3d at 1293.

 IV.   Plaintiffs Have Standing Because Defendants Discriminate
       Against Them Based on Race and Gender.

       Defendants also attempt to undercut Bruckner’s standing to sue by

 claiming that he has not suffered an injury in fact. But this argument is

 rebutted by Supreme Court precedent. Unequal consideration—not unequal

 results—is the hallmark of an equal protection claim of this kind: “When the

 government erects a barrier that makes it more difficult for members of one

 group to obtain a benefit than it is for members of another group, a member of

 the former group seeking to challenge the barrier need not allege that he would

 have obtained the benefit but for the barrier in order to establish standing.”

 NE Fla., 508 U.S. at 666. “And in the context of a challenge to a set-aside

 program, the ‘injury in fact’ is the inability to compete on an equal footing in

 the bidding process, not the loss of a contract.” Id.

       Defendants cite Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1271 (11th

 Cir. 2000) for the proposition that the plaintiff must suffer an invasion of a

 legally protected interest that is “concrete and particularized and actual or

 imminent.” This is true as far as it goes, but this statement, quoted in dissent


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 in an election law dispute, does not overrule the Supreme Court’s holding in

 Northeastern Florida that a contractor suffers such a harm for standing

 purposes when he or she is denied the opportunity to compete on equal footing.

 The remaining cases Defendants cite for this proposition fare no better. In

 Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013), the plaintiffs (all

 United States citizens or organizations) had no evidence to suggest that the

 law would ever be applied to them. The same is not true here.

       Where “a discriminatory policy prevents [him] from doing so on an equal

 footing,” a plaintiff like Bruckner has standing. Webster, 51 F. Supp. 2d at

 1362. As the Supreme Court has long recognized, Bruckner is not required to

 put himself through a discriminatory process in order to make his claim. The

 prohibition on race discrimination applies just as much to the black applicant

 who walks away upon seeing a “whites only” sign as it does to the Hispanic

 applicant who applies and is rejected. Int’l Bhd. of Teamsters v. United States,

 431 U.S. 324, 365 (1977).

 V.    Plaintiffs’ Claims Are Ripe.

       Additionally, Defendants contend that Bruckner’s claim is not ripe

 because he has not submitted a bid on a particular DOT project. At the same

 time, Defendants argue that contract bids are being submitted and road and

 transit projects are being built pursuant to the Infrastructure Act. If this

 argument seems self-contradicting, it is. And like Defendants’ injury-in-fact

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 argument, it also ignores the nature of the harm that Bruckner and other

 qualified contractors like him incur every time such projects are let.

       Defendants cite Texas v. United States for the proposition that claims are

 unripe if they rest upon contingent future events that may not occur as

 anticipated. 523 U.S. 296 (1998). In Texas, the state enacted a law that

 permitted the state to sanction school districts that failed to meet state

 achievement standards in any one of ten different ways, one of which was to

 appoint a master to oversee the district’s operations. Texas challenged that

 particular provision as a potential problem under the Voting Rights Act, but

 the Supreme Court unanimously dismissed the case on ripeness grounds

 because the state could not point to a district that had fallen below state

 standards and had been assessed the sanction. Id. This isn’t the case here,

 where the harm to Plaintiffs occurs each time a contract is offered.

       Further, Defendants incorrectly argue that the factors outlined in

 Pittman v. Cole, 267 F.3d 1269 (11th Cir. 2001) weigh against Plaintiffs. The

 three factors are whether delayed review would cause harm to the plaintiff,

 whether judicial intervention would interfere with further administrative

 action, and whether the courts would benefit from further factual development.

 Id. at 1278. All three factors come down in Plaintiffs’ favor. First, as already

 discussed, each time a contract for which Plaintiffs are qualified is awarded

 based on race, Plaintiffs suffers a dignitary harm that harm is irreparable.

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 Judicial intervention would not interfere with further administrative action

 either—once again, Plaintiffs seek an injunction and declaration that the

 entire bidding framework illegally takes race into account. The question is

 purely a matter of law based on undisputed facts, which weighs against

 Defendants on both the second and the third factor. There need be no further

 fact finding because the particulars of the project at issue do not matter. What

 matters is that Plaintiffs are qualified to bid on certain of the contracts funded

 by the Infrastructure Act and Bruckner’s race prohibits him from doing so on

 equal footing. The claim is ripe any time that these contracts are let, a practice

 that Defendants explicitly acknowledge is currently occurring.

 VI.   This Court Should Issue a Nationwide Injunction.

       Plaintiffs challenge a federal law that discriminates based on race. If this

 Court concludes that this federal law is invalid—in other words, that the

 Infrastructure   Act   unconstitutionally        discriminates   against   potential

 government contractors based on race and gender—then it should enjoin

 Defendants from applying the law. A federal district court may issue a

 nationwide, or “universal,” injunction, see Trump v. Hawaii, ––– U.S. ––––, 138

 S. Ct. 2392, 2425 n.1, 201 L.Ed.2d 775 (2018) (Thomas, J., concurring) when

 “necessary to offer full relief to the plaintiffs.” Georgia v. President of the

 United States, 46 F.4th __, 2022 WL 3703822 (11th Cir. 2022).



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       Here, Defendants oppose a nationwide injunction, but do not explain how

 an injunction applying only to Plaintiffs would protect Plaintiffs. According to

 the Verified Complaint, Plaintiffs are qualified, willing, and able to bid on

 projects under the Infrastructure Act. Doc. 1:¶¶6,7, 35. Plaintiffs have not yet

 decided on what contracts they will bid, or in what cities or states. As

 Defendants explain, the funding so far has been dispersed through all 50 states

 and to more than 700 local government agencies. Doc. 29-4:¶7; Doc. 29-5:¶7.

 The quota is top-down: ordered by Defendants and implemented at a local level

 by officials throughout the United States.

       Plaintiffs may bid on contracts funded by the Infrastructure Act through

 a variety of local authorities, cities, counties, states, or federal agencies. Doc.

 1:¶¶6, 7, 35. Obviously, when Plaintiffs bid on a contract, they will have to

 honestly answer questions concerning race and gender (they can’t lie about

 Bruckner’s race). Then, local government officials reviewing the contracts will

 then process the bid based on those answers, ascribing a race-or-gender

 preference based on applicable preferences. Limiting an injunction to Plaintiffs

 only would create an unworkable situation in which Plaintiffs must notify

 every non-party government official of the existence of an injunction in this

 case, and then hope that those non-party government officials will honor the

 injunction. They may not (because they are not parties).



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       The harm here is caused from the top-down by Defendants’ policy, which

 they impose upon local contracting officials. The only way to prevent the

 Infrastructure Act’s unconstitutional quota is to enjoin the federal officials

 responsible for implementing that quota (namely, Defendants), who will then

 prevent lower officials from discriminating against Plaintiffs (and others). A

 top-down remedy is the only workable remedy because any other limited

 remedy would place an unworkable burden on Plaintiffs to inform non-party

 government officials of the injunction and hope they will comply.

       This Court came to the same conclusion in Wynn, when it wrote, “the

 Court can envision no other remedy that will prevent the likely violation of

 Plaintiff's constitutional right which absent an injunction cannot be remedied

 in this action.” Wynn, 545 F. Supp. 3d at 1295. Plaintiffs similarly can envision

 no other remedy to protect their interests other than to declare the quota a

 “nullity and order that its benefits not extend to the class that the legislature

 intended to benefit.” Welsh v. United States, 398 U.S. 333, 361 (1970) (Harlan,

 J., concurring in result).

       Especially in the context of race discrimination, an appropriate remedy

 is to strike down the policy or law at issue. For example, the Supreme Court

 didn’t merely grant relief to Allan Bakke—it struck down the policy, which also

 gave relief to non-plaintiffs. See Regents of Univ. of California v. Bakke, 438

 U.S. 265, 270 (1978) (striking down entire admission policy, not simply as

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 applied to the plaintiff). And the Court didn’t not merely award relief to

 parents who were members of the group “Parents Involved in Community

 Schools.” Parents Involved, 551 U.S. 701 (2007) (invalidating entire policy,

 without regard to who benefited from the decision). Finally, when the Southern

 District of Florida permanently enjoined Dade County’s “Black, Hispanic, and

 Women Business Enterprise Programs,” it did not limit relief only to the six

 trade associations who were plaintiffs. Eng'g Contractors, 943 F. Supp. at

 1551, 1584–85 An injunction prohibiting Defendants from implementing the

 nationwide quota is the only option likely to give relief to Plaintiffs.

                                 CONCLUSION

       Plaintiffs respectfully request that the Court grant their motion for a

 preliminary injunction.

       Dated: September 28, 2022

                                       WISCONSIN INSTITUTE FOR
                                       LAW & LIBERTY, INC.
                                       /s/ Daniel P. Lennington
                                       Richard M. Esenberg
                                       Daniel P. Lennington
                                       Kate M. Spitz
                                       330 East Kilbourn Avenue, Suite 725
                                       Milwaukee, WI 53202
                                       Telephone: (414) 727-9455
                                       Facsimile: (414) 727-6385
                                       Rick@will-law.org
                                       Dan@will-law.org



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                                    ABEL BEAN LAW P.A.
                                    Daniel K. Bean
                                    Jared J. Burns
                                    100 N. Laura Street, Suite 501
                                    Jacksonville, FL 32202
                                    Telephone: (904) 944-4100
                                    dbean@abelbeanlaw.com
                                    jburns@abelbeanlaw.com

                                    Attorneys for Plaintiffs




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                          CERTIFICATE OF SERVICE

       I certify that, on September 28, 2022, I electronically filed a copy of the

 foregoing document with the Clerk of Court via CM/ECF, which will send a

 notice of electronic filing to all counsel of record.


                                                /s/ Daniel P. Lennington




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